        Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 1 of 18




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JESSICA BLINKHORN,                    )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
STONE MOUNTAIN SHOPPING               )
CENTER, LLC,                          )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendant STONE MOUNTAIN

SHOPPING CENTER, LLC pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

                                          1
        Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 2 of 18




      2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff JESSICA BLINKHORN (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

      4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant STONE MOUNTAIN SHOPPING CENTER, LLC

(hereinafter “Defendant”) is a Georgia limited liability company that transacts

business in the state of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Brian Daughdrill, 945 E. Paces Ferry Road, Suite 2750,

Atlanta, Georgia, 30326.




                                           2
        Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 3 of 18




                           FACTUAL ALLEGATIONS

      9.     On or about March 15, 2021, Plaintiff was a customer at “Trend

Urban Café” and “Cato Fashions,” businesses located at 5370 Stone Mountain

Highway, Stone Mountain, Georgia 30087.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The separate structures and

improvements situated upon said real property shall be referenced herein as the

“Southeast Facility,” the “Center-East Facility,” the “Center Facility,” the

“Northwest Facility” and the “North-Center Facility” (together, the “Facilities”),

and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately eighteen (18) miles from the Facilities

and Property, and works approximately eight (8) miles from the Facilities and

Property.

      12.    Plaintiff regularly commutes and/or otherwise travels in the near

vicinity of the Facilities and Property.

      13.    Plaintiff’s access to the businesses located at 5370 Stone Mountain

Highway, Stone Mountain, Georgia 30087 (Gwinnett County Property Appraiser’s

parcel number R6061 023), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered


                                           3
        Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 4 of 18




therein were denied and/or limited because of her disabilities, and she will be

denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facilities and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facilities and Property at least once before and

intends on revisiting the Facilities and Property once the Facilities and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      16.    Plaintiff travelled to the Facilities and Property as a customer and as

an advocate for the disabled, encountered the barriers to her access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

                                            4
       Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 5 of 18




      19.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.   Each Facility is a public accommodation and service establishment.

      21.   The Property is a public accommodation and service establishment.

      22.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.   The Facilities must be, but are not, in compliance with the ADA and

ADAAG.

      26.   The Property must be, but is not, in compliance with the ADA and

ADAAG.


                                        5
        Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 6 of 18




      27.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in her capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

her disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Plaintiff intends to visit the Facilities and Property again in the future

as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.


                                          6
        Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 7 of 18




      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    The signage for the accessible parking spaces most proximate

             to Unit 710 of the Southeast Facility are not installed at a

             permissible height, in violation of section 502.6 of the 2010


                                          7
 Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 8 of 18




        ADAAG standards.

(ii)    The access aisle adjacent to the accessible parking spaces on the

        Property most proximate to Unit 710 of the Southeast Facility is

        not level due to the presence of a ramp within the boundaries of

        said access aisle, in violation of section 502.4 of the 2010

        ADAAG standards.

(iii)   There is an excessive vertical rise at the base of the accessible

        ramp on the Property most proximate to Unit 710 of the

        Southeast Facility, in violation of section 405.7 of the 2010

        ADAAG standards.

(iv)    The side flares of the above-described ramp most proximate to

        Unit 710 of the Southeast Facility have slopes in excess of 1:10

        (one to ten), in violation of section 406.3 of the 2010 ADAAG

        standards.

(v)     The access aisle adjacent to the accessible parking space on the

        Property most proximate to Unit 765 of the Southeast Facility

        does not properly adjoin an accessible route, in violation of

        section 502.3 of the 2010 ADAAG standards.

(vi)    There are no disabled accessible parking spaces in the vicinity


                                    8
 Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 9 of 18




       of the Central-East Facility, in violation of sections 208.2 and

       208.3 of the 2010 ADAAG standards.

(vii) The walking surfaces of the accessible route on the Property

       between the “A-Z Payless” and “Ross” portions of the Center

       Facility have a slope in excess of 1:20 (one to twenty), in

       violation of section 403.3 of the 2010 ADAAG standards.

(viii) The above-described accessible route between the “A-Z

       Payless” and “Ross” portions of the Center Facility also has a

       total vertical rise greater than 6” (six inches), but does not have

       handrails complying with section 505 of the 2010 ADAAG

       standards, in violation of section 405.8 of the 2010 ADAAG

       standards.

(ix)   The walking surfaces of the accessible route on the Property

       between the “Cato” and “Marshalls” portions of the Center

       Facility have a slope in excess of 1:20 (one to twenty), in

       violation of section 403.3 of the 2010 ADAAG standards.

(x)    The above-described accessible route between the “Cato” and

       “Marshalls” portions of the Center Facility also has a total

       vertical rise greater than 6” (six inches), but does not have


                                    9
Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 10 of 18




       handrails complying with section 505 of the 2010 ADAAG

       standards, in violation of section 405.8 of the 2010 ADAAG

       standards.

(xi)   The walking surfaces of the accessible route on the Property

       between the “Marshalls” and “Bealls” portions of the Center

       Facility have a slope in excess of 1:20 (one to twenty), in

       violation of section 403.3 of the 2010 ADAAG standards.

(xii) The above-described accessible route between the “Marshalls”

       and “Bealls” portions of the Center Facility also has a total

       vertical rise greater than 6” (six inches), but does not have

       handrails complying with section 505 of the 2010 ADAAG

       standards, in violation of section 405.8 of the 2010 ADAAG

       standards.

(xiii) The walking surfaces of the accessible route on the Property

       between the “Bealls” and “CNA Training” portions of the

       Center Facility have a slope in excess of 1:20 (one to twenty),

       in violation of section 403.3 of the 2010 ADAAG standards.

(xiv) The above-described accessible route between the “Bealls” and

       “CNA Training” portions of the Center Facility also has a total


                                  10
Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 11 of 18




      vertical rise greater than 6” (six inches), but does not have

      handrails complying with section 505 of the 2010 ADAAG

      standards, in violation of section 405.8 of the 2010 ADAAG

      standards.

(xv) The walking surfaces of the accessible route on the Property

      between the “Green Orthodontics” and “Five Below” portions

      of the Center Facility have a slope in excess of 1:20 (one to

      twenty), in violation of section 403.3 of the 2010 ADAAG

      standards.

(xvi) The above-described accessible route between the “Green

      Orthodontics” and “Five Below” portions of the Center Facility

      also has a total vertical rise greater than 6” (six inches), but

      does not have handrails complying with section 505 of the 2010

      ADAAG standards, in violation of section 405.8 of the 2010

      ADAAG standards.

(xvii) The accessible parking spaces on the Property most proximate

      to the Northwest Facility do not properly adjoin an accessible

      route, in violation of section 502.3 of the 2010 ADAAG

      standards.


                                 11
Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 12 of 18




(xviii) The Northwest Facility is situated upon a raised concrete

      foundation that is not ramped, rendering it inaccessible to

      disabled patrons that require a wheelchair for mobility

      purposes, such as Plaintiff, in violation of sections 206.2.1 and

      303.4 of the 2010 ADAAG standards.

(xix) Four (4) of the five (5) accessible parking spaces on the

      Property situated on the western side of the North-Center

      Facility do not have adjacent access aisles, in violation of

      section 502.3 of the 2010 ADAAG standards.

(xx) The northernmost of the five (5) accessible parking spaces on

      the Property situated on the western side of the North-Center

      Facility has signage that is not installed at a permissible height,

      in violation of section 502.6 of the 2010 ADAAG standards.

(xxi) The signage for two (2) accessible parking spaces situated on

      the eastern side of the North-Center Facility are not installed at

      a permissible height, in violation of section 502.6 of the 2010

      ADAAG standards.

(xxii) The access aisle centrally adjacent to the two (2) accessible

      parking spaces situated on the eastern side of the North-Center


                                  12
 Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 13 of 18




       Facility is not 60” (sixty inches) in width, in violation of section

       502.3 of the 2010 ADAAG standards.

(i)    The walking surfaces of the accessible route on the Property

       leading from the above-described accessible parking spaces

       situated on the eastern side of the North-Center Facility to the

       entrance of the “Original Mattress Factory” portion of the

       North-Center Facility have an extreme slope in excess of 1:20

       (one to twenty), in violation of section 403.3 of the 2010

       ADAAG standards.

(ii)   The above-described accessible route leading from the above-

       described accessible parking spaces situated on the eastern side

       of the North-Center Facility to the entrance of the “Original

       Mattress Factory” portion of the North-Center Facility also has

       a total vertical rise greater than 6” (six inches), but does not

       have handrails complying with section 505 of the 2010

       ADAAG standards, in violation of section 405.8 of the 2010

       ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The interior of the “Trend” portion of the Southeast Facility has


                                    13
 Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 14 of 18




        sales and services counters lacking any portion of which that

        has a maximum height of 36” (thirty-six inches) from the

        finished floor, in violation of section 904.4 of the 2010

        ADAAG standards.

(ii)    The sinks in the restrooms in the “Trend” portion of the

        Southeast Facility have exposed pipes and surfaces that are not

        insulated or configured to protect against contact with the skin,

        in violation of section 606.5 of the 2010 ADAAG standards.

(iii)   The grab bars/handrails adjacent to the commodes in the

        restrooms in the “Trend” portion of the Southeast Facility are

        not positioned in accordance with sections 604.5 and 609.4 of

        the 2010 ADAAG standards. Specifically, the rear grab bars do

        not extend 12” (twelve inches) from the centerline of the

        commode tanks.

(iv)    The soap dispensers in the restrooms in the “Trend” portion of

        the Southeast Facility are located outside the prescribed vertical

        reach ranges set forth in section 308.2.1 of the 2010 ADAAG

        standards.

(v)     The mirrors in the restrooms in the Facility exceed the


                                    14
       Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 15 of 18




             maximum permissible height set forth in section 603.3 of the

             2010 ADAAG standards.

      32.    Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to traverse the ramp servicing the

Southeast Facility, more difficult for Plaintiff to enter and exit the Southeast

Facility, and more difficult and dangerous for Plaintiff to travel upon the accessible

routes along the Center Facility.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facilities and Property.

      34.    Plaintiff requires an inspection of Facilities and Property in order to

determine all of the discriminatory conditions present at the Facilities and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.


                                         15
       Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 16 of 18




      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees


                                          16
       Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 17 of 18




and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facilities and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facilities and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: April 12, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich

                                        17
       Case 1:21-cv-01444-MHC Document 1 Filed 04/12/21 Page 18 of 18




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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




                                      18
